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 9
     Attorney for Plaintiffs                     Attorneys for Defendants
10
11                                 UNITED STATES DISTRICT COURT
12                                NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14
     BENNY WONG, an individual; STEVEN            Case No. 3:21-cv-06271-EMC
15   BUI, an individual; MARK WOOD, an
16   individual; ANA HENRY, an individual;
                                                  JOINT CASE MANAGEMENT
     LIVIA TSO, an individual; ARJUMAN            STATEMENT
17   QADRI, an individual; YOLANDA GARCIA,
     an individual; SANDRA REYES, an
18   individual; EDITHA YABUT, an individual;     Hon. Edward M. Chen
19   GAYLE GELMAN, an individual; JEROME
     ECAL, an individual; JACOB
20   GREATHOUSE, an individual; NATASHA
     BOGARD LAUPATI, an individual;
21   DEEPAK MALI, an individual; RAICHEL
22   JESI LOORTHAIYA, an individual,

23                  Plaintiffs,
             v.
24
     BEI HOTEL, a California business;
25
     DAVIDSON HOSPITALITY GROUP,
26   A/K/A DAVIDSON HOTEL COMPANY, a
     limited liability company, and DOES 1
27   through 100, inclusive,
28                  Defendants.



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 1
 2                                          INTRODUCTION
 3          Plaintiffs, through their attorneys K&L Law Group, P.C., and Defendants BEI Hotel and
 4   Davidson Hospitality Group (“Davidson”) (collectively, “Defendants”), through their attorneys
 5   McDermott Will & Emery, in the above-entitled litigation jointly submit this Joint Case
 6   Management Statement & Proposed Order pursuant to the Standing Order for All Judges of the
 7   Northern District of California and Civil Local Rule 16-9.
 8                                  JURISDICTION AND SERVICE
 9   Plaintiffs’ Position
10          This Court has personal and subject matter jurisdiction over all previously and newly
11   named Defendants.
12   Defendants’ Position
13          Defendant BEI Hotel does not contest personal jurisdiction. Defendant Davidson has not
14   been served with process and contests personal jurisdiction. This Court has subject matter
15   jurisdiction because plaintiffs’ claims are completely preempted by federal law. See Dkt. No. 1.
16                                                FACTS
17   Plaintiffs’ Position
18          Quite simply, Defendants have misappropriated Plaintiffs’ Pension Funds. At Defendants’
19   request, Plaintiffs provided Defendants ample opportunity over the past several months to produce
20   evidence that the monies in Plaintiffs’ individual accounts were not stolen and instead had been
21   placed in other accounts, which Defendants apparently claim, to no avail. On two separate
22   occasions, Plaintiffs agreed to delay procession of this matter based on Defendants’ promises that
23   “new management” had “resolved the issue” and would demonstrate that Plaintiffs’ funds had
24   never been misappropriated. Without any reasonably explanation, Defendants have failed to do so.
25   Defendants’ Position
26          Defendants dispute the factual allegations in Plaintiffs’ First Amended Complaint.
27   Defendants timely paid all contributions to the Western Conference of Teamsters Pension Trust
28   Fund (“Pension Fund”) that Plaintiffs claim have not been paid. Before the onset of this litigation



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 1   and since the onset of this litigation, Defendants have provided Plaintiffs’ counsel with
 2   documentation showing all contributions to the Pension Fund have been timely paid. Defendants
 3   have explained to Plaintiffs’ counsel that to the extent Plaintiffs’ individual account statements of
 4   their pension contributions reflected a temporary delay in those contributions, that delay was due
 5   to administrative issues on the part of the Pension Fund and not a failure on Defendants’ part to
 6   timely make contributions. Defendants have put Plaintiffs’ counsel in touch with representatives
 7   of the Pension Fund who can answer Plaintiffs’ questions about their contributions or benefits.
 8   Thus, setting aside that this lawsuit’s state-based claims are completely preempted by federal law
 9   (which form the basis of Defendants’ motion to dismiss), there is substantively no basis for
10   Plaintiffs’ claims.
11                                            LEGAL ISSUES
12   Plaintiffs’ Position
13           Defendants are liable for their misappropriations of Plaintiffs’ individual Pension Funds,
14   including all opportunity costs, consequential and punitive damages resulting from their tortious
15   conduct.
16   Defendants’ Position
17           Defendants’ position as to the viability of Plaintiffs’ complaint is set forth in Defendants’
18   motion to dismiss. Substantively, Defendants have no legal liability to Plaintiffs because of their
19   timely contributions to the Pension Fund.
20                                               MOTIONS
21           Other than opposing Defendants’ motions, Plaintiffs at this time to not plan on filing any
22   dispositive motions.
23           Defendants filed a dispositive motion to dismiss in response to Plaintiffs’ First Amended
24   Complaint. Plaintiffs responded to Defendants’ motion on May 10, 2022. Defendants filed their
25   reply to Defendants’ opposition on May 17, 2022.            If Defendants’ motion to dismiss is
26   unsuccessful, Defendants anticipate filing a motion for summary judgment or partial summary
27   judgment at the appropriate time. Defendants may elect to file other motions as the case unfolds.
28   //



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 1                                  AMENDMENT OF PLEADINGS
 2   Plaintiffs’ Position
 3          Plaintiffs amended complaint was filed pursuant to stipulation simply to add new parties
 4   and for no other reason. The substance of Plaintiffs’ claims has not been adjudicated.
 5   Defendants’ Position
 6          Plaintiffs have already filed an amended complaint to which Defendants responded with a
 7   dispositive motion to dismiss. All future amendments to the complaint must be filed with leave of
 8   Court or by agreement of the parties.
 9                                   EVIDENCE PRESERVATION
10          The parties certify that they have reviewed the Guidelines Relating to the Discovery of
11   Electronically Stored Information (“ESI Guidelines”). The parties have not yet met pursuant to
12   Fed. R. Civ. P. 26(f). Defendants have taken all reasonable and proportionate steps to preserve
13   relevant evidence, including issuing legal hold notices.
14                                           DISCLOSURES
15   Plaintiffs’ Position
16          Disclosures should be per the Rules of Procedure.
17   Defendants’ Position
18          There have been no initial disclosures provided in this case to date pursuant to Fed. R. Civ.
19   P. 26(a) by either party. Defendants have informally provided Plaintiffs’ counsel with contact
20   information for persons at the Pension Fund who have information about the issues in the First
21   Amended Complaint, and Defendants have informally provided Plaintiffs’ counsel with
22   documents showing they have made all required contributions to the Pension Fund. Defendants
23   believe discovery will be unnecessary given their dispositive motion to dismiss. Defendants ask
24   that discovery be stayed until the motion to dismiss is resolved by the Court. If the Court denies
25   Defendants’ request to stay discovery, Defendants propose that the parties exchange initial
26   disclosures within ten days of the Case Management Conference.
27   //
28   //



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 1                                               DISCOVERY
 2   Plaintiffs’ Position
 3          Plaintiffs do not currently foresee any discovery issues. However, all documents should
 4   be produced in their native form and in searchable “pdf” or “tiff” formats.
 5   Defendants’ Position
 6          There has been no formal discovery taken in this case to date. Defendants have informally
 7   provided Plaintiffs’ counsel with contact information for persons at the Pension Fund who have
 8   information about the issues in the First Amended Complaint, and Defendants have informally
 9   provided Plaintiffs’ counsel with documents showing they have made all required contributions to
10   the Pension Fund. Defendants believe discovery will be unnecessary given their dispositive
11   motion to dismiss. Defendants ask that discovery be stayed until the motion to dismiss is resolved
12   by the Court, as well as any future motion based on any amended pleading.
13          It is presently unclear which, if any, claims in the First Amended Complaint will survive
14   Defendants’ motion to dismiss, and this uncertainty has caused courts in this District to stay
15   discovery pending resolution of a dispositive motion. See, e.g., Yiren Huang v. Futurewei Techs.,
16   Inc., No. 18-CV-00534-BLF, 2018 WL 1993503, at *4 (N.D. Cal. Apr. 27, 2018) (granting motion
17   to stay discovery where “first resolving the motion to dismiss is the better course” and “may narrow
18   the issues and benefit both parties”).
19                                            CLASS ACTIONS
20          This is not a class action matter.
21                                            RELATED CASES
22          There are no related cases to this matter.
23                                                RELIEF
24   Plaintiffs’ Position
25          Defendants are liable for their misappropriations of Plaintiffs’ Funds, including all
26   opportunity costs, consequential and punitive damages proximately arising therefrom.
27   //
28   //



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 1   Defendants’ Position
 2   Defendants deny liability and that Plaintiffs are entitled to any relief. Defendants intend to seek
 3   attorneys’ fees for their defense of this frivolous lawsuit.
 4                                       SETTLEMENT AND ADR
 5   Plaintiffs’ Position
 6          Plaintiffs are amenable to pursuing ADR provided Defendants do not continue to take the
 7   position that Plaintiffs’ Funds are not really stolen.
 8   Defendants’ Position
 9          Defendants believe settlement discussions and a mandatory settlement conference would
10   be premature at this time and in the near future but will work cooperatively with Plaintiffs to
11   determine the appropriate timeframe for conducting ADR.
12                  CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES
13   Plaintiffs’ Position
14          Plaintiffs consent to proceed before a magistrate judge.
15   Defendants’ Position
16          Defendants declined to proceed before a magistrate judge on August 27, 2021. Defendants
17   continue not to consent to have a magistrate judge conduct all further proceedings including trial
18   and entry of judgment.
19                                        OTHER REFERENCES
20          The parties do not believe this is the type of case suitable for reference to binding
21   arbitration, a special master, or the Judicial Panel on Multidistrict Litigation at this time.
22                                       NARROWING OF ISSUES
23          The parties are committed to working cooperatively during the initial stages of this
24   litigation and will continue to keep an ongoing dialogue to narrow issues as this litigation
25   continues.
26                                 EXPEDITED TRIAL PROCEDURE
27          The parties do not believe that this is the type of case that should be handled on an expedited
28   basis pursuant to Expedited Trial Procedure of General Order No. 64.



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 1                                          SCHEDULING
 2         The parties propose the following schedule:
 3
 4               Event                    Plaintiff’s Proposal          Defendants’ Proposal

 5   Service of Rule 26 Initial       In accordance with the Rules   10 days after the resolution of
     Disclosures                      of Procedure                   motion to dismiss and any
 6                                                                   future motion to dismiss
 7                                                                   based on amended pleadings,
                                                                     if any
 8
                                                                     In the alternative, 10 days
 9                                                                   after Case Management
                                                                     Conference
10
11   Opening of discovery             Immediately                    After the resolution of motion
                                                                     to dismiss and any future
12                                                                   motion to dismiss based on
                                                                     amended pleadings, if any
13
14   Deadline for Plaintiffs to       90 days after opening of       30 days after opening of
     amend pleadings or join          discovery                      discovery
15   additional parties
16   Close of fact discovery          Agreed                         180 days after opening of
17                                                                   discovery

18   Service of any affirmative       Agreed                         30 days after close of fact
     experts reports by all parties                                  discovery
19
     Service of any rebuttal expert   Agreed                         30 days after service of
20
     reports by all parties                                          opening reports
21
     Close of discovery               Agreed                         30 days after service of any
22                                                                   rebuttal expert reports
23                                                                   4 weeks after close of
     Dispositive motion deadline      Agreed
24                                                                   discovery

25   Opposition to dispositive        Agreed                         4 weeks after dispositive
     motion deadline                                                 motion deadline
26
27   Reply in support of              Agreed                         4 weeks after deadline for
     dispositive motion deadline                                     oppositions to dispositive
28                                                                   motions deadline



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 1                 Event                    Plaintiff’s Proposal             Defendants’ Proposal
 2
      Trial Setting Conference         Agreed                            First available hearing date
 3                                                                       10 days after the Court’s
                                                                         decision on dispositive
 4                                                                       motions
 5
      Final Pretrial Conference        Agreed                            TBD at trial setting
 6                                                                       conference

 7    Trial Date                       Agreed                            TDB at trial setting
                                                                         conference
 8
 9                                                 TRIAL
10          Plaintiffs have requested a jury trial in this matter. Defendants intend to move to strike this
11   jury demand at the appropriate time. The parties believe it is premature to estimate a trial length
12   prior to adjudication of summary judgment issues.
13           DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
14          Defendants have filed their respective Certification of Interested Entities or Persons, as
15   required by Civil Local Rule 3-15. Other than BEI Hotel and Davidson Hospitality Group, the
16   following entities may have an interest in the outcome of the proceeding:
17          Com Howard I, LLC
18                                    PROFESSIONAL CONDUCT
19          All attorneys of record for the parties have reviewed the Guidelines for Professional
20   Conduct for the Northern District of California.
21                                                OTHER
22          The parties have no other matters to bring before the Court at this time.
23
     Dated: June 9, 2022
24
                                                           MCDERMOTT WILL & EMERY LLP
25
                                                  By:      /s/ Chris Nemeth
26                                                         CHRIS NEMETH
                                                           Attorneys for Defendants
27
                                                           BEI HOTEL & DAVIDSON
28                                                         HOSPITALITY GROUP



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 1
 2                                                         K&L LAW GROUP, P.C.
 3                                                By:      /s/ Marc Lazo
 4                                                         MARC Y. LAZO

 5                                                         Attorneys for Plaintiffs
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 6                                                         WOOD, ANA HENRY, LIVIA TSO,
                                                           ARJUMAN QADRI, YOLANDA GARCIA,
 7                                                         SANDRA REYES, EDITHA YABUT,
                                                           JEROME ECAL, JACOB GREATHOUSE,
 8                                                         NATASHA BOGARD LAUPATI, DEEPAK
                                                           MALI, RAICHEL JESI LOOTHAIYA
 9
10
                                     SIGNATURE ATTESTATION
11
            I, Marc Lazo am the ECF User whose ID and password are being used to file this document.
12
13   In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of

14   the document has been obtained from Allison Egan and Chris Nemeth, counsel for Defendants, as

15   indicated by a conformed signature (/s/) within this e-filed document.

16
                                                           /s/ Marc Lazo
17                                                         MARC Y. LAZO
18
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